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     JUAN OSCAR MARTINEZ-ARIAS
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         No. Cr. S 11-118 MCE
12                             Plaintiff,              AMENDED STIPULATED MOTION AND
13                                                     ORDER TO REDUCE SENTENCE PURSUANT
               v.                                      TO 18 U.S.C. § 3582(c)(2)
14
     JUAN OSCAR MARTINEZ-ARIAS,                        RETROACTIVE DRUGS-MINUS-TWO
15                                                     REDUCTION CASE
                               Defendant.
16                                                     Judge: Honorable MORRISON C. ENGLAND, JR.

17             Defendant, JUAN OSCAR MARTINEZ-ARIAS, by and through his attorney, Assistant
18   Federal Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and

19   through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On November 1, 2012, this Court sentenced Mr. Martinez-Arias to a term of 96

25   months imprisonment;

26             3.         His total offense level was 31, his criminal history category was I, and the

27   resulting guideline range was 108 to 135 months. He received a downward variance from the

28   low-end of the guideline range;

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Martinez-Arias was subsequently lowered
2    by the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Martinez-Arias’ total offense level has been reduced from 31 to 29, and his
5    amended guideline range is 87 to 108 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Martinez-Arias’ term of imprisonment to a term of 87 months.
8
     Respectfully submitted,
9
     Dated: July 21, 2015                               Dated: July 21, 2015
10
     BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
11   United States Attorney                             Federal Defender
12
13    /s/ Jason Hitt                                    /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender

15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JUAN MARTINEZ-ARIAS
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Martinez-Arias is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 31 to 29, resulting in an amended
6    guideline range of 87 to 108 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in November 2012 is
8    reduced to a term of 87 months.
9              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
10   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
11   reduction in sentence, and shall serve certified copies of the amended judgment on the United
12   States Bureau of Prisons and the United States Probation Office.
13             Unless otherwise ordered, Mr. Martinez-Arias shall report to the United States Probation
14   Office within seventy-two hours after his release.
15             IT IS SO ORDERED.
16   Dated: July 27, 2015
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     Stipulation and Order Re: Sentence Reduction        3
